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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION


 DISPLAY TECHNOLOGIES, LLC,
                         Plaintiff,
           v.
                                                      Civil Action No. 2:15-cv-998


 NVIDIA CORPORATION,
                                                      JURY TRIAL DEMANDED
                         Defendant.




           JOINT MOTION TO SET ASIDE CLERK’S ENTRY OF DEFAULT

           On or about June 19, 2015, Plaintiff Display Technologies, LLC (“Display”) served a

 Summons and Amended Complaint on Defendant NVIDIA Corporation (“NVIDIA”) in this

 action. (Dkt. 13.) On April 21, 2016, Display filed a motion for the entry of default against

 NVIDIA. (Dkt. 82.) On April 21, 2016, the Clerk of this Court entered NVIDIA’s default.

 (Dkt. 83.)

           NVIDIA’s failure to answer or otherwise respond to Display’s Amended Complaint was

 inadvertent, and NVIDIA believes that it has meritorious defenses to the claims set forth in the

 Amended Complaint. Although this action was previously consolidated with other actions filed

 by Display relating to the same asserted patent, all of those other consolidated actions have now

 been dismissed. Display, therefore, will not be prejudiced if the entry of NVIDIA’s default is set

 aside.




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           Accordingly, NVIDIA and Display respectfully request that the Court set aside the entry

 of NVIDIA’s default and that NVIDIA be given until May 31, 2016 to answer or otherwise

 respond to Display’s Amended Complaint.



     Dated: April 28, 2016                           Respectfully submitted,


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